     Case 3:20-cv-00547-WHA           Document 337       Filed 10/23/24    Page 1 of 2



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11   Class Counsel for Lead Plaintiffs Julia Junge and
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12
                                UNITED STATES DISTRICT COURT
13                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
14
     JULIA JUNGE and RICHARD JUNGE, on                   Case No. 3:20-cv-00547-WHA (DMR)
15   behalf of themselves and a class of similarly
     situated investors,                                 Class Action
16                                                       (Consolidated with Case No. 3:20-cv-01163-
                        Plaintiffs,                      WHA); (Related to Case No. 3:20-cv-02823-
17                                                       WHA; 3:22-mc-80051-WHA)
            v.
18                                                       LEAD PLAINTIFFS’ NOTICE OF
     GERON CORPORATION and JOHN A.                       COMPLIANCE WITH ECF NO. 336
19   SCARLETT,                                           (ORDER DENYING MOTIONS TO
                                                         SEAL)
20                      Defendants.
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                                                                              Case No. 3:20-cv-00547 -WHA
                        LEAD PLAINTIFFS’ NOTICE OF COMPLIANCE WITH ECF NO. 336
       Case 3:20-cv-00547-WHA            Document 337         Filed 10/23/24      Page 2 of 2



 1   TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:

 2          On September 26, 2024, the Court denied the parties’ motions to seal ECF No. 198 (lead

 3   plaintiffs’ letter) and ECF No. 200 (defendants’ letter) and ordered the parties to “refile all briefing

 4   and documents in accordance with this order by OCTOBER 24, 2024, AT NOON.” ECF No. 336.

 5   Attached hereto as Exhibit 1 is an unredacted version of ECF No. 198.

 6
                                              Respectfully submitted,
 7
     DATED: October 23, 2024                  KAPLAN FOX & KILSHEIMER LLP
 8
                                              By:   /s/ Jeffrey P. Campisi
 9                                                      Jeffrey P. Campisi
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20                                            Richard Junge and the Class
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                                                      -1-                          Case No. 3:20-cv-00547 -WHA
                         LEAD PLAINTIFFS’ NOTICE OF COMPLIANCE WITH ECF NO. 336
